                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                             No. 5:11-HC-2137-H


UNITED STATES OF AMERICA,             )
                                      )
                   Petitioner,        )       RESPONDENT’S PROPOSED
                                      )          FINDINGS OF FACT
v.                                    )       AND CONCLUSIONS OF LAW
                                      )
EARL WEBSTER COX,                     )      Fed. R. Civ. P. 52(a)(1)
                                      )       Local Civil Rule 52.1
                   Respondent.        )


     COMES NOW Respondent Earl Webster Cox, by and through

undersigned counsel and pursuant to Fed. R. Civ. P. 52(a)(1) and

Local Civil Rule 52.1, submitting the following proposed

findings of fact and conclusions of law.

                                 INTRODUCTION

     1.      The Government petitions the Court pursuant to § 302

of the Adam Walsh Child Protection and Public Safety Act (“Adam

Walsh Act”), Pub. L. 109-248, § 302, 120 Stat. 587, 619-22

(2006) (codified at 18 U.S.C. §§ 4241, 4247, 4248 (2006)), to

commit civilly Respondent Earl Webster Cox to the custody of the

U.S. Attorney General on the ground that he is a “sexually

dangerous person” within the meaning of 18 U.S.C. §§ 4247(a)(5)

and 4248(d).

     2.      To succeed in its petition, the Government must prove

three facts by clear and convincing evidence: that Cox “(1) ‘has


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engaged or attempted to engage in . . . child molestation’ in

the past”; that Cox “(2) currently ‘suffers from a serious

mental illness, abnormality, or disorder’”; and, finally, that,

“(3) as a result of the illness, abnormality, or disorder, [Cox]

‘would have serious difficulty in refraining from . . . child

molestation if released.’” United States v. Hall, 664 F.3d 456,

461 (4th Cir. 2012) (quoting 18 U.S.C. § 4247(a)(5)-(6))

(internal citations omitted).

     3.      For the reasons set forth herein, and with the above-

described statutory framework in mind, the Court FINDS and

CONCLUDES that the Government has failed to prove “by clear and

convincing evidence that [Cox] is a sexually dangerous person”

within the meaning of 18 U.S.C. § 4248(d).

                             PROCEDURAL HISTORY

     4.      On 12 July 2011, the Government commenced the instant

civil action pursuant to 18 U.S.C. § 4248(a) by filing the

“Certification of a Sexually Dangerous Person” that the

Chairperson of the Certification Review Panel of the federal

Bureau of Prisons (“BOP”) prepared on 13 June 2011 with respect

to Cox.     Certification of a Sexually Dangerous Person, ECF No.

1-1; Prehearing Order 2, ECF No. 35.

     5.      At the time of the commencement of the instant action,

Cox was in the custody of the BOP at the Federal Correctional

Institute in Butner, North Carolina (“FCI-Butner”), serving a


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120-month term of imprisonment for his 4 December 2003

convictions for the attempted enticement of a minor to travel in

interstate commerce for sexual activity in violation of 18

U.S.C. §§ 2422(a) and 2426(a), and receipt of child pornography

in violation of 18 U.S.C. § 2252A(a)(2)(A).           See Prehearing

Order 2, ECF No. 35.

     6.      The Court conducted an evidentiary hearing on 19

September 2012, per 18 U.S.C. §§ 4247(d), 4248(a), and 4248(c).

     7.      At that hearing, the Government presented the

testimony of three expert witnesses: Heather H. Ross, Ph.D.;

Jeffrey Davis, Ph.D.; and Joseph J. Plaud, Ph.D.            The Government

also presented the testimony of Cox as an adverse witness.

     8.      Following that hearing, the Court has reviewed

carefully all of the evidence that the parties have submitted,

and, after receiving the testimony of the parties’ witnesses and

giving due consideration to the parties’ arguments, now makes

the following findings of fact and conclusions of law.

                              FINDINGS OF FACT

     9.      Before the Court proceed to make any findings, it

notes that the Government’s burden of proof under the Adam Walsh

Act (i.e., clear and convincing evidence), requires “evidence of

such weight that it produces in the mind of the trier of fact a

firm belief or conviction, without hesitancy, as to the truth of

the allegations sought to be established, and, as well, []


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evidence that proves the facts at issue to be highly probable.”

Hall, 664 F.3d at 461 (quoting Jimenez v. DaimlerChrysler Corp.,

269 F.3d 439, 450 (4th Cir. 2001)).       The Court resolves the

instant factual issues with that standard in mind.

I.   Cox’s Personal History.

     10.    Cox is a 55-year-old Caucasian male.       See Forensic

Precertification Evaluation 1, ECF No. 12-1, Government’s Ex. 5,

at 1 [hereinafter Ross Report] (listing Cox’s date of birth as

17 July 1957).    He was born in St. Louis, Missouri.        Evaluation

for Civil Commitment as a Sexually Dangerous Person as Defined

in 18 U.S.C. § 4247(A)(5), at 14, ECF No. 13-1, Government’s Ex.

3, at 14 [hereinafter Davis Report].       He has two older sisters

and two younger brothers, with whom Cox maintains positive

relationships.    See Psychological and Psychosexual Evaluation of

Mr. Earl Cox 2, ECF No. 19, Government’s Ex. 7, at 2

[hereinafter Plaud Report]; see also Davis Report 14.

     11.    Cox’s father worked as a restaurant manager.        Plaud

Report 2.   Both he and Cox’s mother apparently abused alcohol.

See Plaud Report 2 (describing Cox’s father as “an alcoholic

with stomach problems” and Cox’s mother as a “heavy drinker”).

One report indicates that Cox reported witnessing his father

rape his mother when Cox was seven years old.         Ross Report 3.

     12.    Cox’s father died due to a ruptured ulcer when Cox was

12 years old.    Ross Report 3; Davis Report 14; Plaud Report 2.


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Reports vary with respect to whether Cox discovered his father’s

body.   Ross Report 3; Davis Report 14.       In any event, the death

of his father appears to have deeply troubled Cox, who has

stated that he felt as though “his ‘life ended’ at age 12, when

his father died.”     Davis Report 14.

      13.   After his father’s death, Cox’s mother remarried. Ross

Report 3; Davis Report 15; Plaud Report 2.         Cox’s stepfather

drank heavily.    Plaud Report 2.     He verbally and physically

abused Cox, Cox’s brothers, and Cox’s mother, Ross Report 3,

striking Cox with a closed fist and breaking the leg of Cox’s

mother, Davis Report 15.      Cox denies that his stepfather

sexually abused him.     Davis Report 15.     Due to the abuse, Cox,

at age 13, frequently ran away from home.         Ross Report 3; Davis

Report 15; Plaud Report 2.

      14.   Cox graduated from high school in 1975.        Ross Report

4; Davis Report 15; Plaud Report 2.        He earned good grades and

experienced no behavioral problems.        Ross Report 4; Davis Report

15.   He completed two college courses while still in high

school, Ross Report 4, took other college courses following his

graduation from high school, Plaud Report 2, and, ultimately,

completed a one-year certification program in computer

programming languages, Ross Report 4.

      15.   Cox served in the U.S. Air Force as a computer

operator from 1975 to 1980.      Ross Report 4; Davis Report 15-16.


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The Air Force stationed Cox in Mississippi, Nebraska, and

Germany.   Ross Report 4; Davis Report 16.       As the Court

discusses further infra, Cox’s military service came to an

abrupt end in 1980 upon his convictions for several sex-related

offenses and his resulting dishonorable discharge.         Ross Report

4; Davis Report 5; Plaud Report 3.

     16.   Cox’s other employment history includes, at least, a

job as a clerk at a gas station.      See Ross Report 4; see also

Davis Report 16 (stating that Cox “worked as a clerk at a K&G

Shell store” and as a “shift manager for 7-Eleven”).          Cox also

reports self-employment at some point prior to 2002, during

which time he owned a business by the name of “Arousing

Exteriors.”   Ross Report 4; Davis Report 16.       According to

Ross’s report of her forensic psychological evaluation of Cox,

however, Cox did not report any income for 1996 to 1998 and did

not file income tax returns from 1999 to 2002.         Ross Report 4.

     17.   Cox suffers from several maladies related to his

physical health, including obesity, hypertension, diabetes

mellitus type II, abnormal glucose, low vision in both eyes,

hyperthyroidism, degeneration of lumb or lumbosacral

intervertebral disc, long-term use of anticoagulants, a disorder

similar to psoriasis, unspecified hyperlipidemia, esophageal




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reflux, cellulitis and abscess of toe, and atrial fibrillation.1

Davis Report 23-24.

     18.     Cox is married, although he and his wife have remained

separated for 22 of the 23 years of their marriage.             Ross Report

5.   Cox met his wife in prison.        Ross Report 5.     After her

release, she became pregnant (i.e., with a separate partner),

and suggested that she and Cox marry for the benefit of the

child.     Ross Report 5.    Cox agreed, but reports that he and his

wife eventually separated amicably, apparently due to a lack of

compatibility.      Ross Report 5.

     19.     Cox additionally had one other long-term relationship,

which he reports lasted three years.          Ross Report 5.     He denies

having children.      Ross Report 5.

     A.      Cox’s Criminal History.

     20.     Cox has twice obtained convictions for various sex-

related offenses: once in a proceeding before a general court-

martial, see generally United States v. Cox, 18 M.J. 72 (C.M.A.

1984); and once in a proceeding before the U.S. District Court

for the District of Colorado, see Davis Report 9-14.             In 1990,


1
  Cox introduced into evidence several records and notes of Cox’s
clinical visits with BOP medical staff and Cox’s general medical
history during his time in BOP custody, which documents
chronicle Cox’s myriad health problems, Resp’t Exs. 9-21, 23-27,
29-24, 26-38, consistent difficulty traversing significant
distances, Resp’t Exs. 9-21, his continuing need for extensive
medication, Resp’t Ex. 22, and his use and reliance upon a
number of medical devices, Resp’t Ex. 28, 35.


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the State of Missouri additionally charged Cox with assault for

his alleged inappropriate contact with two minor children.2

Davis Report 6-9.

       21.   The Court discusses each of the three above-described

matters in chronological order.

             1.   Cox’s Court-Martial.

       22.    While he served in the U.S. Air Force at Rhein-Main

Air Base in Germany, the Government convicted Cox, following a

trial before an officer panel, of

         [o]ne specification of sodomy with a child under
         the age of sixteen years, in violation of Article
         125, Uniform Code of Military Justice, 10 U.S.C.
         § 925; three specifications of assault
         consummated by a battery on children under the
         age of sixteen years, in violation of Article
         128, UCMJ, 10 U.S.C. § 928; and six
         specifications of taking indecent liberties with
         children under the age of sixteen years, in
         violation of Article 134, UCMJ, 10 U.S.C. § 934.

Cox, 18 M.J. at 73 n.*.

       23.   The offense conduct related to the above convictions

involved Cox’s sexual assault over a period of nine months of

four girls between the ages of eight and eleven, whom Cox

apparently babysat.      Davis Report 6.     Specifically, the

Government charged that Cox licked the vaginal area of one of

the girls, that he removed the pants of one of the girls and

inserted a candy cane into her vagina, that he inserted one of


2
    Cox has no history of BOP sanctions.


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his fingers into the vagina of one of the girls and forced her

to rub her genitalia with his hand, that he rubbed one of the

girl’s “private parts while the child was clothed,” that he

grabbed one of the girls by the waist, turned her upside down,

and removed her underwear, and, finally, that he grabbed one of

the girls by the waist and turned her upside down with her legs

apart.     Davis Report 6.

     24.     Cox received an eight-year term of imprisonment for

the above-described convictions.        Cox, 18 M.J. at 74.      He

obtained parole on 2 December 1985.         Davis Report 6.

             2.   The Assault Charge.

     25.     On 5 October 1989, officers of the Overland Police

Department in Overland, Missouri, arrested Cox on charges

stemming from his alleged inappropriate contact with two seven-

year-old girls.     Davis Report 6.     The State of Missouri

eventually charged Cox with assault, after prosecutors

determined that the alleged offense conduct could not support a

charge of sexual abuse.       Davis Report 7.     Eventually, however,

the State of Missouri dismissed the charge with prejudice.

Davis Report 7-8.

             3.   The Index Offenses.

     26.     On 14 August 2003, Cox pled guilty in the U.S.

District Court for the District of Colorado pursuant to a plea

agreement to the attempted enticement of a minor to travel in


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interstate commerce for sexual activity in violation of 18

U.S.C. §§ 2422(a) and 2426(a), and receipt of child pornography

in violation of 18 U.S.C. § 2252A(a)(2)(A), which charges

constituted counts one and four of the 23-count superseding

indictment that the Government filed in the district court on 25

February 2003.    Davis Report 9.

      27.     The above-described charges stemmed from Cox’s

communications with an undercover agent of the Federal Bureau of

Investigation (“FBI”), which communications occurred between

November 2002 and 10 January 2003.       Davis Report 10.     In said

communications, Cox sent the undercover agent “emails telling

her he wanted to ‘fuck’ her and spank her.”         Davis Report 10.

During this time, the undercover agent represented herself to be

a 14-year-old girl living in Virginia.        Davis Report 10.

      28.    Eventually, Cox informed the undercover agent that he

wanted her to leave home and travel to Colorado, where Cox

resided at the time, and he sent her $60.00 with instructions to

use that money for bus fare.      Davis Report 10.     Cox told the

undercover agent that he would meet her at a fast food

restaurant near a bus station in Pueblo, Colorado.          Davis Report

10.   He further instructed her to wear a red tube top and no

underwear.    Davis Report 10.

      29.    On 10 January 2003, an undercover police officer

(i.e., an undercover officer distinct from the undercover agent)


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met Cox at the restaurant.      Davis Report 10.     Cox approached

her, stating, “[Y]ou don’t look fourteen.”         Davis Report 10.

FBI agents placed Cox under arrest.       Davis Report 10.

      30.   Cox waived his right to remain silent, admitted the

above-described conduct, and consented to a search of his home

and vehicle.   Davis Report 10.     At Cox’s home, FBI agents seized

Cox’s computer.    Davis Report 11.     The FBI agents later obtained

a warrant to search the same.      Davis Report 11.

      31.   Not long thereafter, officials with the National High

Tech Crime Unit (“NHTCU”) contacted the FBI agents responsible

for Cox’s arrest and informed them that the NHTCU had identified

Cox as the subject of an international investigation into the

“Brotherhood,” a child pornography group.        Davis Report 11.

According to the NHTCU, the Brotherhood built electronic

bulletin boards online for its members to use in exchanging and

posting hyperlinks to child pornography images.         Davis Report

11.

      32.   The NHTCU explained that the Brotherhood’s bulletin

boards had three main public areas, which the Brotherhood titled

Ranchi, Panty Raiders/Lolita Lovers, and Shadows.          Davis Report

11.   The NHTCU believed that the Brotherhood used these public

areas as a means of screening potential members for access to

private or semi-private boards.       Davis Report 11.     Specifically,

according to the NHTCU, a member could only access such bulletin


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boards after posting or reposting a certain number of hyperlinks

to child pornography images.     Davis Report 11.

     33.   By Cox’s admission, Cox served for several years as an

administrator for the Panty Raiders/Lolita Lovers public

bulletin board.    Davis Report 11.    In that capacity, Cox

maintained and operated the public bulletin board by deleting

old or decommissioned hyperlinks to child pornography and

policing chats, thereby facilitating the distribution of the

hyperlinks to child pornography appearing in or accessible from

that bulletin board.    Davis Report 11.

     34.   The search of Cox’s computer ultimately uncovered in

excess of 45,000 image files and videos containing what appeared

to constitute child pornography.      Davis Report 11.     The videos

included 19 videos of a man sexually abusing a girl between the

ages of three and five.    Davis Report 11.     Further investigation

revealed that those 19 videos depicted a man sexually abusing

his biological daughter.    Davis Report 11.

     35.   Cox cooperated with federal authorities following his

arrest and indictment, which cooperation ultimately led to the

arrests of over 60 people, all of whom had some involvement in

the receipt or distribution of the hyperlinks to child

pornography on the Brotherhood’s several online bulletin boards.

Davis Report 13.




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     36.    For the above-described convictions, the district

court imposed a 120-month term of imprisonment and a three-year

term of supervised release upon Cox.      Prehearing Order 2, ECF

No. 35.    That 120-month term of imprisonment expired on 27

September 2011.    Prehearing Order 2, ECF No. 35.       Cox remains,

however, in the custody of the BOP pending the Court’s

disposition of the instant civil commitment proceeding.

     37.    The district court also imposed several conditions

upon Cox’s three-year term of supervised release, including: a

condition requiring Cox to participate in an approved program of

sex-offender evaluation and treatment, which program might

include polygraph and plethysmograph examinations; and a

condition requiring Cox to allow the probation officer to

examine and copy the data within any computer that Cox uses at

any reasonable time and without any prior notice.3 Am. J. 4-5,

United States v. Cox, No. 03-DCR-45-RB-1 (D. Colo. Feb. 24,

2004), Gov’t Ex. 9, at 4-5.

3
  The district court further imposed the district’s standard
conditions of supervised release upon Cox’s term of supervised
release, including conditions that, inter alia, require Cox to
submit truthful and complete reports to his probation officer
within the first five days of every month, to answer truthfully
his probation officer’s inquiries, to work regularly at a lawful
occupation, to notify the probation officer at least 10 days
prior to any change in residence or employment, to refrain from
associating with any felon, to permit his probation officer to
visit him at any time at home or elsewhere, and to notify third
parties of the risks that Cox’s criminal record or personal
history may occasion. Am. J. 4-5, United States v. Cox, No. 03-
DCR-45-RB-1 (D. Colo. Feb. 24, 2004), Gov’t Ex. 9, at 4-5.


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             4.   The Court’s findings with respect to 18 U.S.C. §
                  4247(a)(5).

     38.     The Court finds the above-described convictions

suffice to establish by clear and convincing evidence that Cox

has engaged and has attempted to engage in child molestation

within the meaning of 18 U.S.C. § 4247(a)(5).

     39.     The Court does not, in making the above finding, rely

in any way on the non-adjudicated assault charge.         The Court

notes that the State of Missouri dismissed that charge with

prejudice, and that no jury ever determined Cox’s guilt with

respect to that charge.    The Court will not now call into

question the State of Missouri’s judgment that its case against

Cox should, in fact, have resulted in a voluntary dismissal with

prejudice.

     40.     Nevertheless, the Government has satisfied its burden

of proof with respect to the requirements of 18 U.S.C. §

4247(a)(5) by presenting evidence of Cox’s prior convictions for

engaging or attempting to engage in child molestation, leaving

only the Court’s determination with respect to the Government’s

burden under 18 U.S.C. § 4247(a)(6).

     B.      Cox’s Mental-Health History.

     41.     While he remained incarcerated for his convictions by

the general court-martial, Cox completed four years of sex-

offender treatment.    Davis Report 20.     He declined subsequent



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sex-offender treatment during his incarceration for the index

offense.    Ross Report 7.

      42.    Upon his parole, moreover, Cox participated in

outpatient psychiatric care.      Davis Report 21.

      43.    Cox declined to participate in sex-offender treatment

following his convictions in the U.S. District Court for the

District of Colorado and his resulting return to prison.           Davis

Report 27.

II.   Cox’s Current Status.

      44.    The above facts, while relevant to a determination of

sexual dangerousness, do not dispose of the central issue

involved in these proceedings: Whether Cox presently suffer from

a serious mental illness, abnormality, or defect that will cause

him to have serious difficulty in refraining from sexually

violent conduct or child molestation upon his release from

imprisonment.     See 18 U.S.C. § 4247(a)(6); see also Hall, 664

F.3d at 461.

      45.    “The ‘serious difficulty’ prong of § 4248’s

certification proceeding refers to the degree of the person’s

‘volitional impairment,’ which impacts the person’s ability to

refrain from acting upon his deviant sexual interests.”           Id. at

463 (citing Kansas v. Hendricks, 521 U.S. 346, 358 (1997)).            As

the Supreme Court of the United States noted in Kansas v. Crane,




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          [This] lack of control [or] inability to control
          behavior will not be demonstrable with
          mathematical precision. It is enough to say that
          there must be proof of serious difficulty in
          controlling behavior. And this, when viewed in
          light of such features of the case as the nature
          of the psychiatric diagnosis, and the severity of
          the mental abnormality itself, must be sufficient
          to distinguish the dangerous sexual offender
          whose serious mental illness, abnormality, or
          disorder subjects him to civil commitment from
          the dangerous but typical recidivist convicted in
          an ordinary criminal case.

535 U.S. 407, 413 (2002).

     46.     At the hearing in this matter, the parties presented

expert opinions and testimony concerning Cox’s current mental-

health status, the most important factor bearing on the Court’s

determination in this action.     The Court summarizes the opinions

and testimony below.

     A.      Heather H. Ross, Ph.D.

     47.     The Government presented the testimony of Dr. Ross,

whom the Government tendered and the Court accepted as an expert

in the field of forensic psychology.

     48.     Dr. Ross conducted the pre-certification evaluation of

Cox, which evaluation she submitted to the BOP’s Certification

Review Panel to assist the same in determining whether it would

certify Cox as a sexually dangerous person pursuant to the Adam

Walsh Act.    Ross Report 1.

     49.     In her report of that evaluation, Dr. Ross opined that

Cox warranted the following diagnoses, the criteria for which


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Dr. Ross derived from the Diagnostic and Statistical Manual of

Mental Disorders (4th ed., text rev.) [hereinafter DSM-IV-TR]:

           a.   Axis I diagnoses of pedophilia, sexually

attracted to females, nonexclusive type, and paraphilia not

otherwise specified;

           b.   No Axis II diagnosis; and

           c.   Axis III diagnoses of cellulitis and abscess of

tow, esophageal reflux, hyperlipidemia, other disorder similar

to psoriasis, degeneration of lumb or lumbosacral intervertebral

disc, hyperthyroidism (in remission), low vision, abnormal

glucose, diabetes mellitus, type II, and hypertension.

     50.   Dr. Ross, citing the DSM-IV-TR, identifies the

essential features of a paraphilia as recurrent, intense

sexually arousing fantasies, sexual urges, or behaviors

generally involving (1) nonhuman objects, (2) the suffering or

humiliation of oneself or one’s partner, or (3) children or

other nonconsenting persons, which fantasies occur over a period

of at least six months.    Ross Report 13.     Dr. Ross further

identifies pedophilia as referring to sexual fantasies, urges,

or behaviors with prepubescent children.       Ross Report 13.

     51.   In her report, Dr. Ross explained her conclusion that

Cox suffered from pedophilia as follows:

       Mr. Cox has a conviction for Sodomy and six
       convictions for Indecent Liberties involving
       female children under 12 years old. These


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       charges involved at least four victims. He has
       also been convicted for Receipt of Child
       Pornography. He was a moderator of an online
       board in which members posted links to child
       pornography; images of child pornography
       involving preschool-age children were discovered
       on his computer. He was also charged with
       striking the bare buttocks of a seven-year-old
       female, in the course of a game of hide-and-seek.
       Two parents of alleged victims noted that Mr. Cox
       demonstrated “great interest” in their young
       children. Although Mr. Cox did not endorse
       viewing pornography involving preadolescent
       children and he denied having sexual fantasies
       about the same age group, his behavior reflects a
       sexual interest in preadolescent children. As
       such, a diagnosis of Pedophilia is appropriate.

Ross Report 13.   And, with respect to her diagnosis of

paraphilia, Dr. Ross stated further:

       In addition to his offenses against prepubescent
       females, Mr. Cox has also demonstrated sexual
       interest in minor pubescent females. He was
       convicted of Attempted Enticement of a Minor to
       Travel in Interstate Commerce for Sexual
       Activity, after sending money for bus fare to an
       undercover law enforcement officer posing as a
       14-year-old girl. He engaged in email
       communications with this individual, referencing
       her becoming his “sex-slave,” and attempted to
       meet her after she was scheduled to arrive by bus
       . . . . [F]urther evidence of his sexual interest
       in adolescent females is demonstrated in his
       moderation of an online child pornography board,
       as well as his statement during the current
       evaluation that “[he is] not turned off by
       looking at soft core pictures of teenage girls.”
       Although no other formal charges involving sexual
       interest in adolescent girls were noted in
       records, several allegations of inappropriate
       touching or contact with teenage girls were
       noted. Mr. Cox therefore meets criteria for
       Paraphilia NOS.

Ross Report 13-14 (third modification in original).


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     52.     After determining that Cox warranted the above-

described diagnoses, Dr. Ross analyzed Cox’s risk for recidivism

using the Static-99R.     Ross Report 14-16.    The Static-99R is an

actuarial instrument that identifies an individual’s statistical

risk for recidivism.    Ross Report 14.     The Static-99R accounts

for certain risk factors, including age less than 35 years old,

prior sexual offenses, having unrelated victims, having male

victims, having never lived with a lover for more than two

years, having a conviction for a non-sexual violent charge at

the time of the index offense, prior convictions for non-sexual

violence, number of prior sentencing dates, prior convictions

for non-contact sexual offenses, and the presence of stranger

victims.   Ross Report 14-15.

     53.     Dr. Ross scored Cox at five or six on a scale that

theoretically ranges from zero to 12, with 12 representing the

highest risk for recidivism.     Ross Report 15.     Specifically, Dr.

Ross attributed points to Cox as follows: negative one point for

age; zero or one point for a sexual relationship lasting more

than two years; one point for a prior conviction for non-sexual

violence; three points for prior convictions for sex-related

offenses; one point for a prior conviction for a non-contact sex

offense; and one point for having an unrelated victim.          Ross

Report 15.



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     54.     According to Dr. Ross, a score of five would place Cox

in the moderate-high risk category for sex-offense recidivism.

Ross Report 15.    That score would correspond to about a 15.9%

likelihood of recidivism over a five-year period and about a

22.6% likelihood of sex-offense recidivism over a 10-year

period.    Ross Report 15-16.

     55.     A score of six, on the other hand, would place Cox in

the high risk category.    Ross Report 15.     That score would

correspond to about a 20.2% likelihood of sex-offense recidivism

over a 5-year period and about a 27.6% likelihood of sex-offense

recidivism over a 10-year period.      Ross Report 16.

     56.     Dr. Ross also analyzed Cox’s risk for recidivism using

the STABLE-2007, a dynamic risk assessment instrument.          Ross

Report 16.    That instrument takes into consideration the

presence of multiple dynamic risk factors, including significant

social influences, intimacy deficits, general self-regulation,

sexual self-regulation, and cooperation with supervision.             Ross

Report 16.

     57.     In utilizing the STABLE-2007, Dr. Ross noted that “Mr.

Cox’s file information was indicative of several of these risk

factors,” including the lack of positive social influences

(i.e., Cox’s inability to live with his siblings upon his

release), the presence of negative social influences (i.e., “one

close friend who [Cox] continues to maintain a relationship


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with, but who was incarcerated for his involvement in the

instant offenses”), the lack of capacity for relationship

stability (i.e., the presence of only one long-term, live-in

relationship), a history of sexual pre-occupation (i.e., his

administration of the child pornography bulletin boards), and

the presence of deviant sexual interests (i.e., his history of

child sex abuse and interest in child pornography).         Ross Report

16-17. Dr. Ross also noted the lack of protective factors that

might mitigate Cox’s overall risk.      Ross Report 17.

     58.   On the basis of the foregoing, and having considered

Cox’s prior offense history, Dr. Ross concluded her report by

opining that “Mr. Cox is a person suffering from a serious

mental illness, abnormality, or disorder, as a result of which

he would have serious difficulty in refraining from sexually

violent conduct or child molestation.”       Ross Report 18.

     B.    Jeffrey Davis, Ph.D.

     59.   The Government also presented the testimony of Dr.

Davis, whom the Government tendered and the Court accepted as an

expert in forensic psychology.

     60.   After reviewing the report of Dr. Ross and other

supporting documentation, Dr. Davis determined that Cox

warranted an Axis I diagnosis of pedophilia, attracted to

females, nonexclusive type, Davis Report 25, noting that

“[v]olitional deficits in controlling criminal sexual behavior


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in relation to the mental disorder (i.e., Pedophilia) are

clearly evident in this case,” Davis Report 26.        Dr. Davis based

that conclusion on the fact that “Mr. Cox was detected and

sanctioned for sexual offending against young girls, and was

revoked while on community supervision for similar behavior

following release.”   Davis Report 26.      Dr. Davis further noted

that Cox “participated in sex-offender specific treatment, but

reoffended in the index sex offense,” stating that “[h]is prior

offenses in a public place, as well as through the Internet

(where the possibility of detection was significant), speak to

the strength of underlying urges to engage in such behavior.”

Davis Report 27.

     61.   Dr. Davis did not, however, diagnose Cox with

paraphilia, noting that he considered the diagnosis, but

ultimately deferred it on the ground that he could not tell from

the information in his possession concerning Cox’s convictions

for the index offenses whether Cox “specifically sought a

pubescent victim,” noting that “[h]e may have preferred to seek

a prepubescent victim, but could not find the opportunity to do

so, making the fictitious victim an acceptable substitute.”

Davis Report 26.

     62.   Having diagnosed Cox with pedophilia, Dr. Davis next

turned to his analysis of Cox’s risk for sex-offense recidivism.

Davis Report 27.   Like Dr. Ross, Dr. Davis utilized the Static-


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99R.    Davis Report 27.    Dr. Davis supplemented the Static-99R

results by additionally utilizing the Static-2002R and the

Minnesota Sex Offender Screening Tool-Revised (“MnSOST-R”).

Davis Report 27.

       63.   The Static-2002R, like the Static-99R, assesses an

individual’s statistical risk for sex-offense recidivism.               Davis

Report 29-30.     “It offers greater range in scoring related to

age at the time the inmate is released from the index sex

offense.”    Davis Report 29.     It consists of “14 items and

produces estimates of relative risk based upon the number of

risk factors present in any one individual,” dividing the risk

factors into five domains: age, persistence of sex offending,

deviant sexual interests, relationship to victims, and general

criminality.    Davis Report 30.

       64.   “The MnSOST-R,” on the other hand, “defines sexual

recidivism as likelihood of re-arrest for a contact sexual

offense within the first six years of release from

incarceration.”     Davis Report 30.

       65.   Using the Static-99R, Dr. Davis scored Cox at five or

six, consistent with Dr. Ross’s findings.         Davis Report 27.       Dr.

Davis noted further, however, that a score of five would place

Cox in the 90th percentile of sample groups of adult male sexual

offenders, stating that “[t]he recidivism rate for sex offenders

with the same score on the Static-99R would be expected to be


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approximately 2.2 times the recidivism rate of the typical

sexual offender.”    Davis Report 29 (emphasis omitted).        Dr.

Davis noted that “[t]he risk estimate for the Static-99R for

those samples over a five-year period is about 25 percent,” and

that “[o]ver a period of ten years, the risk estimate is about

35 percent.”    Davis Report 37 (emphasis omitted).

     66.     Using the Static-2002R, Dr. Davis scored Cox at six,

placing Cox in the 87th percentile, or high risk category, of

sexual offenders and indicating a recidivism rate approximately

1.7 times the recidivism rate of the typical sexual offender.

Davis Report 30.

     67.     Dr. Davis did not provide a detailed explanation for

why he scored Cox at six, noting only that he attributed Cox

zero points in the age domain, one point in the persistence of

sexual offending domain, two points in the deviant sexual

interests domain, one point in the relationship to victim

domain, and two points in the general criminality domain.             Davis

Report 30.     Dr. Davis noted that, although “there [were] no

available recidivism data for the Preselected Treatment Needs

samples relative to the Static-2002R,” the “reported re-offense

rates for the High Risk/Needs samples with a score of six are 24

percent at five years and 34 percent at ten years.”         Davis

Report 37 (emphasis omitted).




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     68.     Using the MnSOST-R, Dr. Davis scored Cox at eight.

Davis Report 31.      Once again, Dr. Davis did not include any

information in his report concerning how he determined that

score.     Instead, Dr. Davis noted only that “[c]ompared to

representative Minnesota samples with a total of 761 sex

offenders, Mr. Cox’s score falls into the approximate 83rd

percentile.”     Davis Report 31 (emphasis omitted).         Dr. Davis

noted that “a score of eight points on the MnSOST-R represented

a 30 percent likelihood of rearrest for a contact sexual offense

within six years of [] release from custody.”           Davis Report 37

(emphasis omitted).

     69.     Like Dr. Ross, Dr. Davis further examined Cox using

the STABLE-2007.      Also like Dr. Ross, Dr. Davis determined that

many of the STABLE-2007 dynamic risk factors militated in favor

of finding an increased risk of sex-offense recidivism, noting

that “association with peers with similar pedophilic interests

has been a component of Mr. Cox’s offending behavior,” that Cox

had a minimal history of intimate, live-in relationships, that

Cox had a long-standing pattern of sexual interest in

prepubescent and pubescent females, and that “Mr. Cox’s

cooperation with supervision in the community has been

problematic.”     Davis Report 31-33.

     70.     Unlike Dr. Ross, however, Dr. Davis did not

specifically rule out the possibility of applicable protective


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factors.    Specifically, with respect to Cox’s physical health,

Dr. Davis noted that “Mr. Cox does have a number of health

issues,” stating further that “[i]t is not clear if those

problems would have a substantial impact on Mr. Cox’s potential

time at risk.”    Davis Report 37.

      71.   Finally, Dr. Davis examined Cox using the Structured

Risk Assessment-Forensic Version (“SRA-FV Light”).          Davis Report

33.   That tool “identifies relatively enduring psychological

factors that function as long-term vulnerabilities for sexual

offending.”    Davis Report 33.    It functions by providing scores

for three domains: sexual interests, relational style, and self-

management.    Davis Report 34.

      72.   Dr. Davis scored Cox at 3.3 on the SRA-FV Light, which

score comprised a score of 1.5 in the sexual-interests domain,

due to Cox’s sexual preference for children, sexualized

violence, and sexualized preoccupation; a score of 1.3 in the

relational style domain due to Cox’s lack of emotionally

intimate relationships with adults and his emotional congruence

with children; and a score of 0.5 for self-management, due to

Cox’s dysfunctional coping.       Davis Report 34-35.

      73.   On the basis of the foregoing, Dr. Davis opined that

Cox constituted a sexually dangerous person within the meaning

of the Adam Walsh Act.     Davis Report 39.




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     C.    Joseph J. Plaud, Ph.D.

     74.   Finally, the Government presented the testimony of Dr.

Plaud, whom the Government tendered and the Court accepted as an

expert in forensic psychology.

     75.   Following his interview with and evaluation of Cox,

Dr. Plaud determined that Cox warranted a diagnosis of

pedophilia.   Plaud Report 9.

     76.   Upon reaching that conclusion, Dr. Plaud turned to his

analysis of Cox’s risk for sex-offense recidivism using the

Sexual Violence Risk – 20 (“SVR-20”), which instrument Dr. Plaud

described as providing “for a research-based methodology

designed to evaluate 20 factors or areas of functioning in those

who have been either convicted or alleged to have committed a

sexual offense.”   Plaud Report 10.

     77.   In prefacing his findings, Dr. Plaud noted that

“[r]isk assessments such as is being performed on Mr. Cox should

not be conducted without an understanding of the significant

relationship between how old the sexual offender is when he is

to be released back into the community, and what we know about

the rates of sexual offense recidivism as a function of this

aging process.”    Plaud Report 10.    He went on to state that

“Barbaree et al. (2003) found the following base rates of sexual

offense recidivism for sexual offenders who were released at

different ages (21-30, 31-40, 41-50, 51+) at 17%, 11%, 8%, (Mr.


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Cox is currently 50 years old),4 and 4% respectively.”          Plaud

Report 10.

      78.    In applying the SVR-20, Dr. Plaud noted that Cox’s

history warranted positive responses to the following categories

of dynamic risk factors: sexual deviation; relationship

problems; employment problems;5 past supervision failure; high-

density offenses; multiple offense types; escalation in

frequency/severity; extreme minimization/denial of offenses;

attitudes that support or condone offenses; lack of realistic

plans; and negative attitude toward intervention.          Plaud Report

11.

      79.    The results of the SVR-20 led Dr. Plaud to conclude

“that Mr. Cox does present with a significant pattern of risk

factors for engaging in sexually recidivistic behavior.”           Plaud

Report 11.    As a result, Dr. Plaud stated, “The net result of

4
  The Court notes that in his report, Dr. Plaud misstates Cox’s
age. For the purposes of determining the applicable base rate,
Dr. Plaud treats Cox as 50 years old. Plaud Report 10. At the
time of Dr. Plaud’s evaluation of Cox, however, Cox was 54 years
old. The misstatement skews Dr. Plaud’s findings because had
Dr. Plaud used the correct age in assessing Cox’s base rate, he
would have attributed a four percent, and not an eight percent,
base recidivism rate to Cox.
5
  Contrary to Dr. Plaud’s decision to attribute employment
problems to Cox for the purpose of evaluating Cox’s risk for
recidivism, BOP records indicate that Cox is a ready, willing,
and capable worker. Cox submitted as exhibits BOP records of
his job-performance evaluations. See Resp’t Ex. 5-8. In each
of those evaluations, Cox received above-average scores in every
evaluative category, and he received one score of “Outstanding”
in the “Initiative” category. Resp’t Ex. 6, at 1.


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Mr. Cox’s current psychological status given the fact that he

has both contact and non-contact based sexual offenses, provide

support at this time that Mr. Cox would have serious difficulty

in refraining from sexually violent conduct or child molestation

if he were released.”    Plaud Report 2.

     D.     Cox’s Testimony.

     80.    Cox also testified at the hearing.      He stated that he

did not believe that he presently suffered from a serious mental

illness that would result in his having serious difficulty in

refraining from sexually violent conduct or child molestation if

released.   Cox Dep. 76:15-19, Government’s Ex. 8, at 76:15-19.

Cox further testified that he planned to return to the siding

business upon his release, and that he had experience in that

industry.   He also stated that he would run the business from

home, as a manager, so that he would not need to enter other

people’s homes.

     E. The Court’s Findings as to Cox’s Current Status.

     81.    “The question of whether a person is ‘sexually

dangerous’ is ‘by no means an easy one,’ and ‘there is no

crystal ball that an examining expert or court might consult to

predict conclusively whether a past offender will recidivate.’”

Hall, 664 F.3d at 467 (quoting United States v. Shields, 649

F.3d 78, 89 (1st Cir. 2001)).




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     82.   Nevertheless, the Adam Walsh Act imposes upon the

Court the responsibility “to decide among reasonable

interpretations of the evidence and determine the weight

accorded to expert witnesses.”     Id. (quoting Shields, 649 F.3d

at 89).

     83.   The Court undertakes that responsibility now with

regard to the issues dispositive of this action: first, whether

Cox currently suffer from a serious mental illness, abnormality,

or disorder; and second, whether any such serious mental

illness, abnormality, or disorder would cause Cox serious

difficulty in refraining from sexually violent conduct or child

molestation upon his release from imprisonment.

           1.     Does Cox Currently Suffer from a “Serious” Mental
                  Illness, Abnormality, or Disorder?

     84.   The Court must first resolve whether the Government

have met its burden of establishing by clear and convincing

evidence that Cox presently suffers from a “serious” mental

illness, abnormality, or disorder.      See id. at 461; see also 18

U.S.C. § 4247(a)(6).

     85.   The experts unanimously believe that Cox suffers from

pedophilia.     Ross Report 13; Davis Report 25; Plaud Report 9.

The Court accepts their diagnoses.      The Court, therefore, finds

that Cox does, in fact, suffer from pedophilia, which




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constitutes a “serious” mental illness, abnormality, or disorder

within the meaning of 18 U.S.C. § 4247(a)(6).

     86.    The Court declines to find that Cox suffers from

paraphilia not otherwise specified.      Only Dr. Ross opined to the

contrary.   Ross Report 13.    Dr. Davis deferred that diagnosis on

the basis of insufficient information, which information

included, importantly, Dr. Ross’s report.       Davis Report 26.      Dr.

Plaud did not mention paraphilia not otherwise specified as a

possible diagnosis.   Plaud Report 9.     The Government has not,

therefore, shown by clear and convincing evidence that Cox

suffers from paraphilia not otherwise specified.

     87.    Additionally, the Court declines to find that Cox

suffers from paranoid and narcissistic personality disorders.

Only Dr. Plaud provided those diagnoses.       Plaud Report 10.

Neither of the other experts so much as mentioned them.          Neither

does the Court see, nor does Dr. Plaud explain, how those

diagnoses, even if accurate, would cause Cox to have serious

difficulty in refraining from sexually violent conduct or child

molestation upon his release from imprisonment.        In any event,

the Government has not carried its burden of proof with respect

to the accuracy of those diagnoses in the first instance.

     88.    Nevertheless, the testimony of all three expert

witnesses suffices to establish that Cox does, in fact, suffer

from a serious mental illness, abnormality, or disorder within


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the meaning of 18 U.S.C. § 4247(a)(6) (i.e., pedophilia).                The

Court, therefore, turns to the final question before it: Whether

pedophilia will cause Cox to have serious difficulty in

refraining from sexually violent conduct or child molestation

upon his release.

             2.   Will Cox’s Pedophilia Cause Him to Have Serious
                  Difficulty Refraining from Sexually Violent
                  Conduct in the Future?

     89.     The Court finds that, on this final prong of 18 U.S.C.

§ 4247(a)(6), the Government has failed to carry its burden of

proof.     As noted supra, that burden requires the Government to

show, by clear and convincing evidence, that Cox’s pedophilia

impairs his volition to such a degree that it makes him

significantly more dangerous than the “dangerous but typical”

recidivist offender.       Crane, 535 U.S. at 413.

     90.     “The mere presence of a sexual attraction to minors is

insufficient to meet the ‘serious difficulty’ prong.”            Order at

10, United States v. Maranda, No. 5:08-HC-2033-H (E.D.N.C. Sept.

6, 2012) (Howard J.), ECF No. 58 (citing United States v. Carta,

No. 07-12064, 2011 WL 2680734 (D. Mass. July 7, 2011), aff’d No.

11-1921, 2012 WL 3064842 (1st Cir. July 27, 2012)).            Rather,

“[i]f the person the government seeks to commit has developed

the skills necessary to overcome the urge to have sexual contact

with minors without [serious] difficulty, the government fails




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in meeting its burden as to this prong of the test.”         Id.

(quotation omitted).

     91.     At the outset, the Court notes that it has not

considered Cox’s prior convictions for sex-related offenses when

determining whether Cox currently lack volitional control.

     92.     “When a party attempts to assert a position that is

inconsistent with a prior position that the party has

successfully asserted in another court, courts have a number of

steps that they may take to prevent such an attempted abuse of

the judicial process.”     Lowery v. Stovall, 92 F.3d 219, 223 (4th

Cir. 1996).    Specifically, “courts may apply collateral

estoppel.”     Id.

     93.     The doctrine of collateral estoppel prevents

“relitigation of an issue previously decided if the party

against whom the prior decision is asserted had ‘a full and fair

opportunity to litigate that issue in the earlier case.’”             Combs

v. Richardson, 838 F.2d 112, 114 (4th Cir. 1988) (quoting Allen

v. McCurry, 449 U.S. 90, 94-95 (1980)).       “Collateral estoppel

treats as final only those issues ‘actually and necessarily

determined’ in the prior suit.”      Id. (quoting Montana v. United

States, 440 U.S. 147, 153 (1979)).

     94.       The Government prosecuted Cox on the charges

underlying his prior convictions, and did so successfully. Cox’s

convictions mean that the respective courts wherein they


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occurred (i.e., a general court-martial and the U.S. District

Court for the District of Colorado) determined that Cox

intentionally or knowingly engaged in the conduct underlying

those convictions—that is, Cox’s conduct did not result from his

volitional impairment.

     95.   Such determinations are, therefore, a matter of

established judicial fact, and the Government cannot, in this

subsequent proceeding, renege on the position it took earlier

for the very purpose of establishing such fact in order to use

those convictions as circumstantial evidence of Cox’s volitional

impairment here.

     96.   Neither have the experts presented testimony that

would allow the Court to find, by clear and convincing evidence,

that Cox lacks volitional control with respect to future sexual

violence or child molestation.     In their analyses of Cox, each

of the experts utilized instruments that predict sex-offense

recidivism.   The plain language of 18 U.S.C. § 4247(a)(6),

however, does not query whether a sex offender will re-offend;

rather, it queries whether the sex offender will have serious

difficulty in refraining from re-offending.        These are two

separate questions.   Indeed, one person might re-offend as a

result of volitional impairment, while another person re-offend

as a result of free choice.     The Adam Walsh Act protects the

public from the former; the criminal law, the latter.


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     97.   The tools that the experts use to assess recidivism

barely, if at all, account for the examinee’s mental illness,

abnormality, or disorder, and the manner in which that disorder

might affect the examinee’s likelihood of recidivism.         See Ryan

C. W. Hall, MD, & Richard C. W. Hall, MD, PA, A Profile of

Pedophilia: Definition, Characteristics of Offenders,

Recidivism, Treatment Outcomes, and Forensic Issues, 82(4) Mayo

Clinic Proc. 457, 467 (April 2007) (“Several actuarial and self-

report tests have been designed to help physicians and law

enforcement officers predict which individuals are at higher

risk for repeated offense, but currently no single test or

combination of tests can accurately identify the future activity

of an individual.”).

     98.   These tools might provide useful insight into

recidivism rates among sex offenders, but they do not answer the

question the Adam Walsh Act poses: Whether the examinee’s mental

illness, abnormality, or disorder will cause him serious

difficulty in refraining from sexually violent conduct or child

molestation upon release.     See Frederick Winsmann, Ph.D.,

Sexual-Offender-Treatment.org, Assessing Volitional Impairment

in Sexually Violent Predator Evaluations, http://www.sexual-

offender-treatment.org/103.html (distinguishing between

volitional impairment and risk for recidivism).




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     99.     The Government has not shown that causal connection.

In fact, of the testifying experts, only Dr. Davis referred

expressly to a causal link between Cox’s pedophilia and

volitional impairment.6       See Davis Report 26-27.

     100. Dr. Davis identified several instances of conduct that

he believed demonstrate Cox’s volitional impairment, including

Cox’s willingness to break the rules of his community

supervision in order to re-offend, Cox’s engagement in

recidivistic behavior following his participation in sex-

offender treatment, the fact that Cox’s offenses occurred in a

public place and on the internet where the risk of detection

“was significant,” and that Cox declined additional sex-offender

treatment while in prison for the index offense.            Davis Report

26-27.

     101.     Dr. Davis’s testimony does not, however, convince the

Court.     The majority of the items that Dr. Davis cites when

discussing “[v]olitional deficits” comprise events that occurred

more than nine years ago.        The Court fails to see how those

events might demonstrate that Cox currently suffers from a

mental illness, abnormality, or disorder that will cause him


6
  The Court notes that several internal BOP records concerning
Cox’s mental health report his status as “stable.” Resp’t Exs.
1-4. The Court further notes that, in a medical/psychological
pre-release evaluation dated 21 December 2010, BOP staff
indicated that Cox presented with “[n]o evidence of mental
problems.” Resp’t Ex. 39.


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serious difficulty in refraining from sexually violent conduct

or child molestation upon his release.

     102. The Court further credits the testimony of Cox, whose

testimony appeared thoughtful and sincere.        Cox recognizes the

criminal and immoral nature of his prior conduct.         He denies

that he currently lacks, to any degree, capacity to control his

conduct.   Cox Dep. 76:15-19, Government’s Ex. 8, at 76:15-19.

Without additional evidence linking Cox’s pedophilia to a

present volitional impairment, the Court has no reason to

believe that Cox does, in fact, lack such capacity.

     103. Finally, the Court also notes that, upon his release

from the BOP, Cox will not simply go free.        Rather, he will

remain subject to the conditions of his term of supervised

release, which conditions include, inter alia, conditions

requiring Cox to report frequently and honestly to his probation

officer, to notify his probation officer of any change in his

residence or employment, to notify third parties of the risks

that his criminal history and personal characteristics occasion,

to participate in sex-offender treatment—including polygraph and

plethysmograph testing—and to allow his probation officer to

examine and copy at any reasonable time any data that he keeps




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on any computer that he uses.7     Am. J. 4-5, United States v. Cox,

03-DCR-45-RB-1 (D. Colo. Feb. 24, 2004).

     104. Cox recognizes and appreciates that, if he violate any

of the above conditions, it would result in the imposition of an

active term of imprisonment.     Additionally, the Government would

once again have the opportunity to consider certification of Cox

under 18 U.S.C. § 4248.

     105. Particularly with these conditions in place, and given

Cox’s current physical limitations and his sincere testimony,

the Court rejects a determination that Cox presents a high

likelihood of reoffending and, more importantly for purposes of

the Adam Walsh Act, that Cox suffers from volitional impairment.

     106. For all of these reasons, the Government has failed to

prove by clear and convincing evidence that any mental illness,

abnormality, or disorder will cause Cox to have serious




7
  The presence of conditions of supervised release is relevant to
the Court’s resolution of the question whether a respondent will
have serious difficulty in refraining from sexually violent
conduct or child molestation if released. See Order at 12-14,
United States v. Maranda, No. 5:08-HC-2033-H (E.D.N.C. Sept. 6,
2012) (Howard J.), ECF No. 58; see also Findings of Fact and
Conclusions of Law at 2, United States v. Begay, No. 5:11-HC-
2197-BO (E.D.N.C. July 25, 2012) (Boyle J.), ECF No. 33
(incorporating therein §§ I and II of Respondent’s Proposed
Findings of Fact and Conclusions of Law, including a footnote
approving of the consideration of the presence of applicable
conditions of supervised release, Proposed Findings of Fact and
Conclusions of Law at 46 n.15, Begay, No. 5:11-HC-2197-BO
(E.D.N.C. July 17, 2012)).


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difficulty in refraining from sexually violent conduct or child

molestation upon his release from imprisonment.

                         CONCLUSIONS OF LAW

     107. In order for the Court to have committed Cox civilly

pursuant to the Adam Walsh Act, the Government needed to prove

three elements by clear and convincing evidence: (1) that Cox

has engaged or attempted to engage in sexually violent conduct

or child molestation; (2) that Cox currently suffers from a

serious mental illness, abnormality, or disorder; and (3) as a

result of that serious mental illness, abnormality, or disorder,

Cox would have serious difficulty in refraining from sexually

violent conduct or child molestation upon his release from

imprisonment.

     108. The Government satisfied the first two elements, but

failed to satisfy the third.

     THE COURT, THEREFORE, DIRECTS the Clerk to enter judgment

in favor of the respondent, Earl Webster Cox, and against the

petitioner, the United States of America.       The Court ORDERS the

federal Bureau of Prisons to release Cox forthwith to the

appropriate U.S. Probation Office.      The Court hereby DISMISSES

this action.




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This 18th day of September 2012.


                           Respectfully submitted by,



                           /s/ Samuel A. Forehand________________
                           Samuel A. Forehand
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                       CERTIFICATE OF SERVICE

     The undersigned has this date electronically filed the

foregoing with the Clerk of Court using the CM/ECF System, which

will send notice of such filing to the following registered

CM/ECF users:

     R.A. Renfer, Jr., Esq.
     G. Norman Acker, III, Esq.
     Michael James, Esq.
     Seth Morgan Wood, Esq.
     Office of the U.S. Attorney
     Eastern District of North Carolina


This 18th day of September 2012.



                             /s/ Samuel A. Forehand________________
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